                            UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

HARRY A. SCHEINA, III,                                        )
                                                              )
                               Plaintiff,                     )
                                                              )
       vs.                                                    )       Case No. 18-3210
                                                              )
JAMES SIGMAN, Sheriff of the Texas                            )
County, MO, Individually and In his official                  )
capacity; JENNIFER TOMASZEWSKI,                               )
Individually, COUNTY OF TEXAS, MISSOURI                       )
                                                              )
                               Defendants.                    )

                    DEFENDANT JAMES SIGMAN’S FIRST AMENDED
                   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

       COMES NOW the Defendant, James Sigman, by and through his undersigned counsel,

Keck, Phillips & Wilson, LLC, and states the following by way of answer to Plaintiff’s “Amended

Complaint Under the Civil Rights Act of 42 U.S.C. § 1983”:

       1.       Paragraph number 1 is compound, vague and argumentative and requires no

response from this Defendant. To the extent a response may be deemed required, Defendant denies

each and every allegation in paragraph 1, including subparts a) through e).

       2.       Defendant denies each and every allegation in paragraph 2.

       3.       Defendant denies each and every allegation in paragraph 3.

                                 JURISDICTION AND VENUE

       4.       Defendant admits that this Court has jurisdiction over Plaintiff’s federal claims.

       5.       Defendant admits that venue is proper.




                                                  1

            Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 1 of 22
                                                PARTIES

       6.       Defendant admits Plaintiff was incarcerated in the Texas County Jail during June-

July, 2017, but lacks sufficient knowledge and information to form a belief as to the truth or

falsity of the remainder of paragraph 6 and, therefore, denies the same.

       7.       Defendant admits that Texas County is a local public entity, and denies the

remainder of paragraph 7 because it is composed solely of legal conclusions.

       8.       Defendant admits that he was the Sheriff of Texas County, Missouri, at all

relevant times, and states that the remaining allegations in paragraph 8 are legal conclusions to

which no response is required. To the extent a response to the remaining allegations may be

deemed required, they are denied by Defendant.

       9.       Defendant admits that Jennifer Tomaszewski was a jailer in the Texas County Jail

at the relevant times, and states that the remaining allegations in paragraph 8 are legal

conclusions to which no response is required.        To the extent a response to the remaining

allegations may be deemed required, they are denied by Defendant.

       10.      Defendant denies each and every allegation in paragraph 10.

                                       STATEMENT OF FACTS

       11.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 11 and, therefore, denies the same.

       12.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 12 and, therefore, denies the same.

       13.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 13 and, therefore, denies the same.




                                                 2

            Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 2 of 22
       14.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 14 and, therefore, denies the same.

       15.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 15 and, therefore, denies the same.

       16.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 16 and, therefore, denies the same.

       17.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 17 and, therefore, denies the same.

       18.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 18 and, therefore, denies the same.

       19.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 19 and, therefore, denies the same.

       20.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 20 and, therefore, denies the same.

       21.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 21 and, therefore, denies the same.

       22.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 22 and, therefore, denies the same.

       23.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 23 and, therefore, denies the same.

       24.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 24 and, therefore, denies the same.




                                                 3

          Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 3 of 22
       25.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 25 and, therefore, denies the same.

       26.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 26 and, therefore, denies the same.

       27.     Defendant denies each and every allegation in paragraph 27.

       28.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 28 and, therefore, denies the same.

       29.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 29 and, therefore, denies the same.

       30.     Defendant denies each and every allegation in paragraph 30.

       31.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 31 and, therefore, denies the same.

       32.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 32 and, therefore, denies the same.

       33.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 33 and, therefore, denies the same.

       34.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 34 and, therefore, denies the same.

       35.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 35 and, therefore, denies the same.

       36.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 36 and, therefore, denies the same.




                                                 4

          Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 4 of 22
       37.     Defendant denies each and every allegation in paragraph 37.

       38.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 38 and, therefore, denies the same.

       39.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 39 and, therefore, denies the same.

       40.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 40 and, therefore, denies the same.

       41.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 41 and, therefore, denies the same.

       42.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 42 and, therefore, denies the same.

       43.     Defendant denies each and every allegation in paragraph 43.

       44.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 44 and, therefore, denies the same.

       45.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 45 and, therefore, denies the same.

       46.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 46 and, therefore, denies the same.

       47.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 47 and, therefore, denies the same.

       48.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 48 and, therefore, denies the same.




                                                 5

          Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 5 of 22
       49.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 49 and, therefore, denies the same.

       50.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 50 and, therefore, denies the same.

       51.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 51 and, therefore, denies the same.

       52.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 52 and, therefore, denies the same.

       53.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 53 and, therefore, denies the same.

       54.     Defendant denies each and every allegation in paragraph 54.

       55.     Defendant denies each and every allegation in paragraph 55.

       56.     Defendant denies each and every allegation in paragraph 56.

       57.     Defendant denies each and every allegation in paragraph 57.

       58.     Defendant denies each and every allegation in paragraph 58.

       59.     Defendant denies each and every allegation in paragraph 59.

       60.     Defendant admits that Plaintiff pleaded guilty to his charges, but lacks sufficient

knowledge and information to form a belief as to the truth or falsity of the remaining allegations

in paragraph 60 and, therefore, denies the same.

       61.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 61 and, therefore, denies the same.

       62.     Defendant denies each and every allegation in paragraph 62, and further states that




                                                   6

          Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 6 of 22
if any of the hardware fell out of Plaintiff’s mouth, it was because he intentionally damaged or

removed it.

       63.     Defendant denies each and every allegation in paragraph 63.

       64.     Defendant denies each and every allegation in paragraph 64.

       65.     Defendant denies each and every allegation in paragraph 65.

       66.     Defendant denies each and every allegation in paragraph 66.

       67.     Defendant denies each and every allegation in paragraph 67.

       68.     Defendant denies each and every allegation in paragraph 68.

       69.     Defendant denies each and every allegation in paragraph 69.

       70.     Defendant denies each and every allegation in paragraph 70.

       71.     Defendant states that paragraph 71 is too vague as to the time period in question

to permit a meaningful response. To the extent a response may be deemed required, Defendant

admits so much of paragraph 71 as alleges that he and Defendant Tomaszewski began a romantic

relationship in 2017, but denies the remaining allegations.

       72.     Defendant denies each and every allegation in paragraph 72.

       73.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 73 and, therefore, denies the same.

       74.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 74 and, therefore, denies the same.

       75.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 75 and, therefore, denies the same.

       76.     Defendant lacks sufficient knowledge and information to form a belief as to the




                                                 7

          Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 7 of 22
truth or falsity of paragraph 76 and, therefore, denies the same.

       77.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 77 and, therefore, denies the same.

       78.      Paragraph 78 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 78.

       79.      Paragraph 79 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 79.

       80.      Defendant states that paragraph 80 contains legal conclusion to which no response

is required. Defendant lacks sufficient knowledge and information to form a belief as to the truth

or falsity of the allegations in paragraph 80, therefore, denies the same.

       81.      Defendant admits so much of paragraph 81 as alleges that, at the relative times,

Texas County contracted with Advanced Correctional Healthcare to provide medical services to

inmates. Defendant lacks sufficient knowledge and information to form a belief as to the truth or

falsity of the remaining allegations and, therefore, denies the same.

       82.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 82 and, therefore, denies the same.

       83.      Paragraph 83 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies the allegations in paragraph

83.

       84.      Defendant lacks sufficient knowledge and information to form a belief as to the




                                                  8

          Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 8 of 22
truth or falsity of paragraph 84 and, therefore, denies the same.

       85.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 85 and, therefore, denies the same.

       86.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 86 and, therefore, denies the same.

       87.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 87 and, therefore, denies the same.

       88.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 88 and, therefore, denies the same.

       89.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 89 and, therefore, denies the same.

       90.     Defendant denies each and every allegation in paragraph 90.

       91.     Defendant denies each and every allegation in paragraph 91.

       92.     Defendant denies the existence of such a policy, and denies the remaining

allegation in paragraph 92, if any.

       93.     Defendant denies each and every allegation in paragraph 93.

                               COUNT I
DELIBERATE INDEIFFERENCE TO SCHEINA’S MEDICAL NEEDS IN VIOLATION
        OF 42 U.S.C.§1983-DEFENDANT JENNIFER TOMASZEWSKI

       COMES NOW Defendant James Sigman, by and through undersigned counsel, Keck,

Phillips & Wilson, LLC, and states that Count III makes no allegations against him. To the

extent a response may be deemed required, Defendant states the following:




                                                 9

          Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 9 of 22
       94.       Defendant hereby repeats, restates and incorporates herein by reference all of

the admissions, denials and averments contained in the foregoing paragraphs 1-93 as though

fully set forth herein.

       95.       Defendant denies each and every allegation in paragraph 95.

       96.       Defendant denies each and every allegation in paragraph 96.

       97.       Defendant denies each and every allegation in paragraph 97.

       98.       Defendant denies each and every allegation in paragraph 98.

       99.       Defendant denies each and every allegation in paragraph 99.

       100.      Defendant denies each and every allegation in paragraph 100.

       101.      Defendant denies each and every allegation in paragraph 101.

       102.      Paragraph 102 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 102.

       103.      Paragraph 103 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 103.

       104.      Paragraph 104 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 104.

       105.      Paragraph 105 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 105.



                                                10

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 10 of 22
        WHEREFORE, Defendant requests that this Court dismiss Plaintiff’s Count I, at

Plaintiff’s cost, and enter judgment in favor of Defendant, and for such other and further relief to

which Defendant may show itself justly entitled.

                                COUNT II
DELIBERATE INDEIFFERENCE TO SCHEINA’S MEDICAL NEEDS IN VIOLATION
             OF 42 U.S.C.§1983-DEFENDANT JAMES SIGMAN

        COMES NOW Defendant James Sigman, by and through undersigned counsel, Keck,

 Phillips & Wilson, LLC, and states the following by way of answer to Count I:

        106.     Defendant hereby repeats, restates and incorporates herein by reference all of the

admissions, denials and averments contained in the foregoing paragraphs 1-105 as though fully

set forth herein.

        107.     Defendant denies each and every allegation in paragraph 107.

        108.     Defendant denies each and every allegation in paragraph 108.

        109.     Defendant denies each and every allegation in paragraph 109.

        110.     Defendant denies each and every allegation in paragraph 110.

        111.     Defendant denies each and every allegation in paragraph 111.

        112.     Defendant denies each and every allegation in paragraph 112.

        113.     Defendant denies each and every allegation in paragraph 113.

        114.     Paragraph 114 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 114.

        115.     Paragraph 115 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in




                                                 11

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 11 of 22
paragraph 115.

        116.     Paragraph 116 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 116.

        117.     Paragraph 117 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 117.

        WHEREFORE, Defendant requests that this Court dismiss Plaintiff’s Count II, at

Plaintiff’s cost, and enter judgment in favor of Defendant, and for such other and further relief to

which Defendant may show itself justly entitled.

                               COUNT III
DELIBERATE INDEIFFERENCE TO SCHEINA’S MEDICAL NEEDS IN VIOLATION
    OF 42 U.S.C.§1983 DEFENDANTS JAMES SIGMAN AND TEXAS COUNTY

        COMES NOW Defendant James Sigman, by and through undersigned counsel, Keck,

 Phillips & Wilson, LLC, and states the following by way of answer to Count III:

        118.     Defendant hereby repeats, restates and incorporates herein by reference all of the

admissions, denials and averments contained in the foregoing paragraphs 1-117 as though fully

set forth herein.

        119.     Paragraph 119 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 119.

        120.     Paragraph 120 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in



                                                 12

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 12 of 22
paragraph 120.

       121.      Paragraph 121 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 121.

       122.      Paragraph 122 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 122.

       123.      Paragraph 123 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 123.

       124.      Defendant denies each and every allegation in paragraph 124, including all

subparts thereto.

       125.      Paragraph 125 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 125.

       126.      Defendant admits so much of paragraph 126 as alleges that inmates, like everyone

else in the general population, may have medical needs from time to time, and denies the

remaining allegations in paragraph 126, if any.

       127.      Defendant denies each and every allegation in paragraph 127, including all

subparts thereto.

       128.      Defendant denies each and every allegation in paragraph 128, including all

subparts thereto.




                                                  13

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 13 of 22
        129.     Defendant denies each and every allegation in paragraph 129, including all

subparts thereto.

        130.     Paragraph 130 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 130.

        131.     Defendant denies each and every allegation in paragraph 131, including all

subparts thereto.

        132.     Defendant denies each and every allegation in paragraph 132, including all

subparts thereto.

        WHEREFORE, Defendant requests that this Court dismiss Plaintiff’s Count III, at

Plaintiff’s cost, and enter judgment in favor of Defendant, and for such other and further relief to

which Defendant may show itself justly entitled.

                                  COUNT IV
                         DELIBERATE INDEIFFERENCE TO
           SCHEINA’S MEDICAL NEEDS IN VIOLATION OF 42 U.S.C.§1983:
                        DEFENDANT TEXAS COUNTY

        COMES NOW Defendant James Sigman, by and through undersigned counsel, Keck,

 Phillips & Wilson, LLC, and states that Count IV makes no allegations against him. To the

 extent a response may be deemed required, Defendant states the following:

        133.     Defendant hereby repeats, restates and incorporates herein by reference all of the

admissions, denials and averments contained in the foregoing paragraphs 1-132 as though fully

set forth herein.

        134.     Paragraph 134 contains only legal conclusions to which no response is required.




                                                 14

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 14 of 22
To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 134.

       135.      Paragraph 135 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 135.

       136.      Paragraph 136 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 136.

       137.      Paragraph 137 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 137.

       138.      Defendant states paragraph 138 contains only legal conclusions and that Texas

County’s contract with ACH is a written document that speaks for itself, and Defendant denies

each and every allegation in paragraph 138 to the extent inconsistent with said contract.

Defendant lacks sufficient knowledge and information to form a belief as to the truth or falsity of

the remaining allegations in paragraph 138—if any—and, therefore, denies the same.

       139.      Defendant states paragraph 139 contains only legal conclusions and that Texas

County’s contract with ACH is a written document that speaks for itself, and Defendant denies

each and every allegation in paragraph 139 to the extent inconsistent with said contract.

Defendant lacks sufficient knowledge and information to form a belief as to the truth or falsity of

the remaining allegations in paragraph 139—if any—and, therefore, denies the same.

       140.      Defendant states paragraph 140 contains only legal conclusions and argument, and



                                                15

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 15 of 22
that Texas County’s contract with ACH is a written document that speaks for itself, and

Defendant denies each and every allegation in paragraph 140 to the extent inconsistent with said

contract. Defendant lacks sufficient knowledge and information to form a belief as to the truth or

falsity of the remaining allegations in paragraph 140—if any—and, therefore, denies the same.

       141.    Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 141 and, therefore, denies the same.

       142.    Defendant lacks sufficient knowledge and information to form a belief as to the

truth or falsity of paragraph 142 and, therefore, denies the same.

       143.    Defendant states paragraph 143 contains only legal conclusions and argument, and

that Texas County’s contract with ACH is a written document that speaks for itself, and

Defendant denies each and every allegation in paragraph 143 to the extent inconsistent with said

contract. Defendant lacks sufficient knowledge and information to form a belief as to the truth or

falsity of the remaining allegations in paragraph 143—if any—and, therefore, denies the same.

       144.    Defendant denies each and every allegation in paragraph 144.

       145.    Defendant denies each and every allegation in paragraph 145.

       146.    Defendant denies each and every allegation in paragraph 146.

       147.    Defendant denies each and every allegation in paragraph 147.

       148.    Defendant denies each and every allegation in paragraph 148.

       WHEREFORE, Defendant requests that this Court dismiss Plaintiff’s Count IV, at

Plaintiff’s cost, and enter judgment in favor of Defendant, and for such other and further relief to

which Defendant may show itself justly entitled.




                                                 16

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 16 of 22
                                 COUNT V
DELIBERATE INDEIFFERENCE TO SCHEINA’S MEDICAL NEEDS IN VIOLATION
  OF 42 U.S.C.§1983: FAILURE TO ADEQUATELY SUPERVISE TOMASZEWSKI
                           DEFENDANT SIGMAN

        COMES NOW Defendant James Sigman, by and through undersigned counsel, Keck,

 Phillips & Wilson, LLC, and states the following by way of answer to Count V:

        149.    Defendant hereby repeats, restates and incorporates herein by reference all of the

admissions, denials and averments contained in the foregoing paragraphs 1-148 as though fully

set forth herein.

        150.    Defendant denies each and every allegation in paragraph 150.

        151.    Defendant denies each and every allegation in paragraph 151.

        152.    Defendant admits that a Sheriff directly or indirectly “supervises” all employees

 of the Sheriff’s Department.

        153.    Defendant denies each and every allegation in paragraph 153.

        154.    Defendant denies each and every allegation in paragraph 154.

        155.    Defendant denies each and every allegation in paragraph 155.

        156.    Defendant denies each and every allegation in paragraph 156, including all

 subparts.

        157.    Defendant denies each and every allegation in paragraph 157.

        158.    Defendant denies each and every allegation in paragraph 158.

        159.    Defendant denies each and every allegation in paragraph 159.

        160.    Paragraph 160 contains only legal conclusions to which no response is required.

 To the extent a response may be deemed required, Defendant denies each and every allegation in



                                                17

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 17 of 22
paragraph 160.

       161.    Paragraph 161 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 161.

       162.    Paragraph 162 contains only legal conclusions to which no response is required.

To the extent a response may be deemed required, Defendant denies each and every allegation in

paragraph 162.

       163.    Defendant denies each and every allegation in paragraph 163.

       164.    Defendant denies each and every allegation in paragraph 164.

       WHEREFORE, Defendant requests that this Court dismiss Plaintiff’s Count V, at

Plaintiff’s cost, and enter judgment in favor of Defendant, and for such other and further relief to

which Defendant may show itself justly entitled.

      AFFIRMATIVE DEFENSES, AVOIDANCES, AND ADDITIONAL MATTERS

       Defendant states the following by way of affirmative defenses, avoidances and additional

matters:

       1.      Defendant denies each and every allegation set forth in Plaintiff’s Complaint, except

those specifically admitted herein.

       2.      Defendant asserts that the doctrine of qualified immunity is applicable to each and

every cause of action set forth in the Complaint, and that Plaintiff is barred, in whole or in part,

from asserting and pursuing recovery on said actions.

       3.      Plaintiff’s Complaint herein fails, in whole or in part, to state a claim against

Defendant upon which relief may be granted.



                                                18

           Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 18 of 22
        4.        Defendant asserts that the doctrine of official immunity is applicable to each and

every cause of action set forth in the Complaint, and that Plaintiff is barred, in whole or in part,

from asserting and pursuing recovery on said actions.

        5.        Defendant asserts that the public duty doctrine is applicable to each and every

cause of action set forth in the Complaint, and that Plaintiff is barred, in whole or in part, from

asserting and pursuing recovery on said actions.

        6.        Defendant asserts that the doctrine of sovereign immunity is applicable to each

and every cause of action set forth in the Complaint, and that Plaintiff is barred, in whole or in

part, from asserting and pursuing recovery on said actions.

        8.        Defendant avers that Plaintiff’s cause of action is frivolous and that at such time as

Defendant prevails on Plaintiff’s Complaint, Defendant is entitled to an award of attorney fees and

costs under 42 U.S.C. § 1988.

        9.        Plaintiff failed to exhaust his administrative remedies at the Texas County Jail prior

to filing suit.

        10.       Plaintiff’s claims are barred, in whole or in part, by the equitable doctrines of

estoppel, unclean hands, waiver or abandonment.

        11.       Plaintiff’s recovery is barred, in whole or in part, by his failure to mitigate his

damages.

        12.       Defendant affirmatively states that all damages sustained by Plaintiff, the existence

of which are generally and specifically denied by Defendant, were directly and proximately caused

or were directly and proximately contributed to be caused by the comparative or contributory fault

and/or negligence of Plaintiff, as follows:




                                                   19

           Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 19 of 22
               a.      In removing, partially removing, or attempting to remove or partially

       remove, the surgically installed hardware in his jaw by himself and without the supervision

       of a doctor;

               b.      In failing to follow the advice and instructions of his physician;

               c.      In failing to attend follow up appointments with his surgeons and doctors

       during time periods when he was not incarcerated.

To the extent Plaintiff’s damages, if any, were proximately caused by his own negligence and/or the

negligence of others whose acts are beyond the control of Defendant, any recovery should be

reduced by comparative fault

       13.     Defendant affirmatively states that all damages sustained by Plaintiff, the existence

of which are generally and specifically denied by Defendant, were directly and proximately caused

or were directly and proximately contributed to be caused by the comparative or contributory fault

and/or negligence of third parties. To the extent Plaintiff’s damages, if any, were proximately

caused by his own negligence and/or the negligence of others whose acts are beyond the control of

Defendant, any recovery should be reduced by comparative fault.

       14.     Defendant affirmatively states that punitive or exemplary damages are not

recoverable under any facts pleaded herein.

       15.     Plaintiff’s claims for punitive damages against Sigman and Tomaszewski, in their

official capacities, are barred and cannot be recovered from a governmental entity.

       16.     Defendant affirmatively states that his actions toward Plaintiff were, at all times,

taken in good faith and reasonable in light of established law.




                                                  20

         Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 20 of 22
           17.     Defendant reserves the right to assert and plead additional affirmative defenses

   when facts supporting such defenses become known and available during the course of this

   litigation.

           18.     Defendant hereby requests that a trial by jury be had on all issues so triable.

   WHEREFORE, Defendant James Sigman, having answered to the Amended Complaint of

Plaintiff, prays to be discharged thereon, be awarded his costs and attorney fees, and for such other

and further relief as the Court deems just and proper in the premises.



                                                   KECK, PHILLIPS & WILSON, LLC
                                                   By       /s/ Matthew D. Wilson
                                                        Matthew D. Wilson #59966
                                                        3140 E. Division
                                                        Springfield, MO 65802
                                                        Phone: (417) 890-8989
                                                        Fax: (417) 890-8990
                                                        Email: matt@kpwlawfirm.com
                                                        Attorneys for Defendants


                                     CERTIFICATE OF MAILING

          The undersigned hereby certifies that a true and accurate copy of the foregoing was sent via
   ECF, this 25th day of March, 2019 to:


   Stephen F. Gaunt
   David L. Steelman
   Steelman & Gaunt
   901 Pine St.
   Ste. 110
   P.O. Box 1257
   Rolla, MO 65402

   Christopher J. Swatosh
   Law Office of Cristopher J. Swatosh



                                                     21

             Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 21 of 22
200 East Washington
P.O. Box 190
Ava, MO 65608



                                           /s/ Matthew D. Wilson
                                           Matthew D. Wilson




                                      22

        Case 6:18-cv-03210-BP Document 51 Filed 03/25/19 Page 22 of 22
